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             Paul J. Cambria, Jr.(CA 177957)
         2 LIPSITZ GREEN SCIME CAMBRIA LLP                                                 r

         3 i
             42 Delaware Avenue, Suite 120
             Buffalo, New York 14202
         4 1 Telephone:(716)849-1333
                                                                                                           U
         S Facsimile: (716)855-1580
                                                                                           4
                                                                                                     ~,a
             pcambria@lglaw.ccm                                                                      .e.
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         6

        7      Attorneysfor Claimant
               Michael Lacey
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        9                          UNITED STATES DISTRICT COURT
                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
      10                                 WESTERN DIVISION
      11
                                                                CASE N0.2:18-cv-6742-RGK(MAAx)
      12      In the Matter of the Seizure of:                          18-MJ-00722-PJW
      13      Any and all funds held in Republic B             rRelated to Case Nos. 18-MJ-00712,
              of Arizona Account(s) x~xI889,                   18-MJ-00713, 18-MJ-00715,
     14       xx~2592,xxxx1938, xxxx2912, and                  18-MJ-00716, 18-MJ-00718,
              xx~2500.                                         1 S-MJ-00719, 18-MJ-00720,
     15 ,                                                      18-MJ-00721, 18-MJ-00723,
                                                               18-MJ-00724, 18-MJ-00751,
D 16                                                           18-MJ-00797, 18-MJ-00798,
~ 1~ iI~                                                       18-MJ-00996, 18-MJ-00997,
                                                               18-MJ-01427, and 18-MJ-1863]
     18
                                                               CLAIMANT'S MEMORANDUM OF
     19                                                        POINTS AND AUTHORITIES IN
    20                                                         SUPPORT OF MOTION FOR RELEASE
                                                               OF CERTAIN UNTAINTED FUNDS
    21

    22                                                       (First request)
                                                             (Oral Argument Requested)
    23

    24
                                              INTRODUCTION
    25              Claimant Michael Lacey respectfully moves this Court to issue an order
    26        requiring the government to iininediately release certain funds to hiin because
                                                                                              those
    27

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 1
   Paul J. Cambria, Jr.(CA 177957)
 2 LIPSITZ GREEN SCIME CAMBRIA LLP

 3
   42 Delaware Avenue, Suite 120
   Buffalo, New York 14202
 4 Telephone:(716)849-1333

 5
   Facsimile: (716)855-1580
   pcambria@lglaw.com
 6                                                                                               C—
                                                                                         -~      f`i
     AttofHeysfor Claimant                                                                       U
 7
     Michael Lacey                                                                        ~,.~
 8

 9                       UNITED STATES DISTRICT COURT
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10                             WESTERN DIVISION
11
                                                 CASE N0.2:18-cv-6742-RGK(MAAx)
12   In the Matter of the Seizure of:                    18-MJ-00722-PJW
13 Any and all funds held in Republic B.         [Related to Case Nos. 18-MJ-00712,
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   xx~c2500.                                      18-MJ-00719, 18-MJ-00720,
15                                                18-MJ-00721, 18-MJ-00723,
                                                  18-MJ-00724, 18-MJ-00751,
16                                                18-MJ-00797, 18-MJ-00798,
                                                  18-MJ-00996, 18-MJ-00997,
17                                                18-MJ-01427, and 18-MJ-1863]
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27

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  1 ~ ~ funds are untainted and their iininediate release is necessary to ameliorate the undue

  2      harm he has suffered from the govermnent's improper seizure. As discussed in
  3      greater detail below, Mr. Lacey has demonstrated to the government that these
 4       particular funds are untainted; nonetheless, the government has refused to release
  5      them or to investigate the propriety ofthe government's seizure ofthe funds. These
 6 funds are vital to Mr. Lacey's ability to pay for his living expenses and are equally
 7       important to fund his defense in a criminal action pending in the District of Arizona.
 8       Because the government's seizure of these untainted funds as well as others has
 9       rendered Mr. Lacey unable to meet his daily financial obligations, and to defend
to       himself against the charges pending in the District of Arizona, Mr. Lacey
11       respectfully requests that this Court hear the instant motion on an accelerated basis
12       and grant the relief requested.
 13                                        BACKGROUND
14             The government has sought and obtained the pretrial restraint of the vast
      ~~
15             majority of Mr. Lacey's assets.

16             On March 28, 2018, a grand jury sitting in the District of Arizona issued an

17       indictment ("Indictment") against Mr. Lacey and his co-defendants in the case

18       captioned U~zzed States v. Lacey, 18-CR-00422-PHX-SPL (BSB) ("Arizona

19 Prosecution"). (See Indict., attached as Ex. A to the Declaration of Paul J. Cambria
20 ("Cambria Decl.").) The government charged Mr. Lacey with conspiracy to facilitate

21       prostitution (18 U.S.C. §§ 371, 1952(a)(3)(A)), facilitation of prostitution (18 U.S.C.

22       ~§ 1952(a)(3)(A), (b)(1)(i)), conspiracy to coininit money laundering (18 U.S.C. §

23       1956(h)), concealment money laundering(18 U.S.C. § 1956(a)(1)(B)(i)), international

24       promotional money laundering (18 U.S.C. § 1956(a)(2)(A)), and transactional money

25       laundering(18 U.S.C. § 1957). (See zd. at ¶¶ 157-71.) These charges purportedly arise

26       out of Mr. Lacey's former involvement with the web-publishing entity Backpage.co~n,

27       LLC(`Backpage") which operated a website to which third-party users had the ability

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  1      to post content. (See id. at ¶¶ 1-16.) The government's theory is that Mr. Lacey should
  2      beheld criminally liable for the content ofadvertisements posted to Backpage by third-
  3      party users by virtue of his prior involvement with Backpage. (See id.) Mr. Lacey
 4       pleaded not guilty to the crimes charged and has mounted a vigorous defense to the
  5      government's theory.'
 6              By the time the original Indictment was unsealed, the government had seized
 7       the vast majority of Mr. Lacey's assets, even though he must be presumed to be
 8       innocent ofthe crimes charged at this stage,and the conduct upon which the Indictment
 9       is based involves presumptively protected First Amendment activities.                    Further
 l0 complicating the seizure issues in this case is that Mr. Lacey earned substantial income
 11      long before Backpage was formed and he continues to earn substantial income separate
 12      and apart from Backpage. (See Henze Cook Decl. ¶ 41.) Nonetheless, he has been
 13      barred from the use ofthe vast majority ofhis assets. (See id. ¶¶ 9-12.)
 14

 IS
         II.    The government's pretrial restraint of Mr. Lacey's assets causes daily
                hardships.
16
                Each day that the government's pretrial restraint of Mr. Lacey's assets remains
 17
         in place causes an undue hardship because the restraint has rendered Mr. Lacey unable
 18
         to meet basic financial obligations. (See id.) Mr. Lacey has bills related to living
19
         expenses that he is unable to pay. (See id. ¶ 9.) Further,the restraint ofhis assets has,
20
         at times, made compliance with his conditions ofrelease difficult (See id. ¶¶ 10-11.)
21
                Compounding the daily personal struggles presented by lack of access to funds,
22
         the government's pretrial restraint of Mr. Lacey's assets has rendered hiin unable to
23
         defend the instant charges. (See zd. ¶ 12.)
24

25
                A grand jury, sitting in the District of Arizona, returned a superseding indictment against
26       Mr. Lacey and his co-defendants on July 25, 2018. (See Super. Indict., attached as Ex. C to the
         Cambria Decl.) The government's theory of liability is the same as that alleged in the original
27       Indictment. (See id.)
28 ~ ~                                                   3
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 1    III.   The government rebuffed Mr.Lacey's request for prompt disclosure of the
             seizure warrants, warrant applications, and forfeiture orders.
 2
             In recognition ofthe devastation that the government's pretrial restraint of Mr.
 3
      Lacey's assets would and does have on him, NIr. Lacey's counsel irrunediately
 4
      requested that the government provide the seizure warrants, warrant applications, and
 5
     forfeiture orders issued in connection with the seizure ofhis assets. (See Cambria Decl.
 6
     ¶ 9; Henze Cook Decl. ¶¶ 27, 33.) Initially, the govermnent denied that it had the
 7
      ability to produce those documents any earlier than the end of May, even though each
 8
      day that Mr. Lacey's assets remained subject to seizure caused undue hardship on hiin.
 9
     (See Cambria Decl. ¶ 13.) Consequently, Mr. Lacey and his co-defendants moved for
l0
     the prompt disclosure of those documents and for the accelerated hearing of their
11
      disclosure motion. (See Defs.' Mot. for Discl., attached as Ex. B to the Cambria Decl.)
12
     On May 18, 2018, the government began disclosing the requested documents to Mr.
13
     Lacey and his co-Defendants. (See Cambria Decl. ¶ 16.) The government's disclosure
14
     rendered the discovery motion moot.
15

16   IV.     The government has sought and obtained the pretrial restraint of funds
17
             that are unrelated to Backpage.

18
             Separate and apart from the constitutional challenges Mr. Lacey has brought and

19   may bring with respect to the seizure ofrevenue or assets derived from his involvement

20
     with Backpage, a brief review of Mr. Lacey's financial records indicates that the

21
     government's pretrial restraint of the funds in three of Mr. Lacey's accounts with
     Republic Bank was llnproper because those funds are unrelated to Backpage. On May
22
     5, 2017, Cereus Properties LLC("Cereus")issued a check payable to Mr. Lacey in the
23

24
     amount of$451,205.36. (See May 5,2017 Check,attached as Ex. C to the Henze Cook

25
     Decl.) On May 23, 2017, Cereus issued a check payable to Mr. Lacey in the amount

26
     of$225,602.68. (See May 23,2017 Check,attached as Ex. D to the Henze Cook Decl.)

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 1   The total ofthose two checks is $676,808.04. (See Exs. C,D to the Henze Cook Decl.)
 2 ~ ~ The checks were not endorsed; instead, they were voided. (See id.)

 3         Michele McSherry, the Office Manager for Cereus, indicated that those two
 4 ~ ~ checks constituted distributions owed to Mr. Lacey from Village Voice Media

 5   Holdings. (See May 14,2018 Michele McSherry Decl., attached as Ex. E to the Henze
 6   Cook Decl., at ¶¶ 3-4.) Shortly after receipt ofthe checks, Mr. Lacey contacted Cereus
 7   and asked that the funds be wired to his account at Republic Bank ending in 2485
 8   instead. (See id. at ¶ 6.) Ms. McSherry intended to wire the money to Mr. Lacey's
 9 I, ~ account from a Cereus account ending in 4862("4862 Cereus Account"). (See id. at ¶

l0 7.) The 4862 Cereus Account contains funds generated solely by Village Voice Media
11   Holdings and rental income from the Phoenix New Times newspaper building. Those
12   sources ofrevenue are unrelated to Backpage. (See Henze Cook Decl. ¶ 41.)
13         However, by virtue of nothing more than a clerical error on her part, Ms.
14   McSherry wired the funds to Mr. Lacey's account from a Cereus account ending in
15   3873("3873 Cereus Account"). (See Ex. E to Henze Cook Decl. at ¶ 7.) The 3873
16   Cereus Account holds funds generated from Backpage. (See Henze Cook Decl. ¶ 47.)
17   Critically, on June 1, long before cormnenceinent of the instant prosecution, Ms.
18   McSherry recognized the mistake and transferred $676,808.04 from the 4862 Cereus
19   Account to the 3873 Cereus Account to rectify the two accounts. (See Ex. E to Henze
20   Cook Decl. at ¶¶ 9-11.) A contemporaneous bank statement for the 4862 Cereus
21   Account indicates that Ms. McSherry did, in fact, rectify those two accounts on June
22   1, 2017. (See June 201.7 Statement for 4862 Cereus Account, attached as Ex. F to the
23   Henze Cook Decl.)
24         Ms. McSherry's clerical error was compounded by the fact that Mr. Lacey
25   transferred funds from the Republic Bank account ending in 2485     an account he has
26   always understood to hold funds generated solely from Village Voice Media Holdings
27   and the rent from the Phoenix New Tines newspaper building         to two other bank
28                                             5
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  1   accounts held at Republic Bank(accounts ending in 1897 and 3126). (See Henze Cook
 ~~ Decl. ¶ 14.) Those accounts, too, have been seized by virtue of receiving funds from
 3    the Republic Bank account ending in 2485. There are no independent allegations of
 4    taint regarding those two accounts. (See id. at ¶ 38 n.3.)
 5
      V.     Mr. Lacey attempted to obtain release of the funds that are unrelated to
 6           Backpage without judicial intervention.
 7           On May 16, 2018, amid discussions with the government about prompt
 8    disclosure ofthe seizure documents, Mr. Lacey's counsel contacted the government to
 9    seek the immediate release of the funds held in Republic Bank accounts ending in
 to 2485, 1897, and 3126. (See May 16, 2018 Email from J. Cook to J. Kucera, attached
11    as Ex. G to the Henze Cook Decl.) To allay the govermnent's concern about the
12    propriety of those funds, counsel provided the govermnent with the McSherry
13    Declaration, the voided checks, and the June 2017 statement for the 4862 Cereus
14    Account. (See id.) Further, Mr. Cambria conveyed to the govermnent that Ms.
15    McSherry was willing to speak with the government about the wire transfer and the
16    clerical error. (See Cambria Decl. ¶ 19; Ex. H to the Henze Cook Decl.)
17          To Mr. Lacey's detriment, the goverrunent has refused to release the funds to
18    him without conducting its own investigation. (See Ex. G to the Henze Cook Decl.)
19    After being repeatedly pressed by defense counsel for a decision on the release ofthe
20    funds, which is vital to Mr. Lacey's ability to pay for living expenses and a defense to
21    the Arizona Prosecution, the goveminent indicated that it could not reach a decision
22    by May 25, 2018. (See Ex. H to the Henze Cook Decl.) Since then, the govermnent
23    has indicated that it will not interview Ms. McSherry or otherwise investigate the
24    propriety of the government's seizure of these funds. Instead, the government
25    indicated that it will not take any action on these funds outside the context of a civil
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  1      forfeiture action(which it has not brought) and civil discovery. (See Cambria Decl. ¶
  2      22.)
  3                                          ARGUMENT
  4             Mr. Lacey respectfully requests that this Court enter an order requiring the
  5      government to release the funds held in Mr. Lacey's Republic Bank accounts for
 6       accounts ending in 2485, 1897, and 3126 because those funds are unrelated to
  7      Backpage and the government cannot seek pretrial restraint ofassets that are unrelated
 8 to Backpage. It is well-settled that the govermnent has no authority to seize so-called
 9 untainted assets prior to trial. See Luis v. United States, 578 U.S.        , 136 S.Ct. 1083,
l0       1094(2016)("We have found no decision ofthis Court authorizing unfettered, pretrial
11       forfeiture ofthe defendant's own `innocent' property    property with no connection to
12       the charged crime."); cf. United States >>. Rzpzf~ksy, 20 F.3d 359, 363 (9th Cir. 1994)
13 ("[S]ubstitute assets are not subject to pretrial restraint.").

14              Here, the goverrunent's continued pretrial restraint of Mr. Lacey's funds held in
15       Republic Bank accounts ending in 2485, 1897, and 3126 does not withstand scrutiny
16       of any kind. The funds at issue are derived from the sale of Village Voice Media
17       Holdings, one of the many sources of income distributed to Mr. Lacey separate and
18       distinct from Backpage. Consequently, the government's continued restraint of Mr.
19 Lacey's income derived from the sale of Village Voice Media Holdings is
20       unjusrifiable. The government's continued use of the "nuclear weapon ofthe law" in
21       connection with the Arizona Prosecution should be cabined, and with respect to these
22       particular funds, curtailed. See G~~po Mexicaj~o de Desarrollo S.A. v. Allzaf~ce Bof~d
23       Fund, hzc., 527 U.S. 308, 329(1999)(alteration omitted).
24              Equally important, Mr. Lacey had no involvement with or knowledge of Ms.
25       McSherry's clerical error. (See Henze Cook Decl. ¶ 50.) In fact, Ms. McShe~y's
26       clerical error was contrary to NIr. Lacey's bng-standing instructions to Cereus to limit
27       its wire transfers into his Republic Bank account ending in 2485 to revenues generated
28 I I                                              7
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 1      solely from Village Voice Media Holdings and the rent from the Phoenix New Times
 2      newspaper building. (See icy. ¶ 45.) Therefore, Mr. Lacey could not have had the
 3      requisite specific intent to launder the $676,808.04 at issue in violation ofthe money
 4      laundering statutes charged in the Indictment or Superseding Indictinent(18 U.S.C. §
 5      1956(a)(1)(B)(i) and 18 U.S.C. § 1957(a)) when he had no pf~ior knowledge of the
 6      actions Ms. McSherry undertook.to cause the error and the error was contrary to the
 7 ~ ~ instructions he had given Cereus.

 •~ ~          As the Ninth Circuit has explained, "[in]oney laundering is a specific intent
 9      crime, and it requires knowledge of~ the pa~~t of the defendant." United States v.
10      Gurolla,333 F.3d 944,957(9th Cir. 2003)(emphasis added). In particular,to establish
11      money laundering under 18 U.S.C. § 1956(a)(1)(B)(i), the government must establish
12      that a defendant "knowing that the property involved in a financial transaction
13      represents the proceeds of some form of unlawful activity, conducts or attempts to
14      conduct such a financial transaction which in fact involves the proceeds of specified
15      unlawful activity . . . knowiy~g that the transaction is designed in whole or in part to
16      conceal or disguise the nature, the location, the source, the ownership, or the control
17      ofthe proceeds ofspecified unlawful activity." Id.(emphasis added). Similarly,under
18      18 U.S.C. § 1957, to establish money laundering, the govermnent must prove that a
19      defendant "knowzf~gly engages or attempts to engage in a monetary transaction in
20      criminally derived property of a value greater than $10,000 and is derived from
21      specified unlawful activity." Id. (emphasis added). Neither of these statutes permit
22      conviction for money laundering when the defendant is oblivious to the purported
23      unlawful financial transaction at issue. Further, there are no known cases of money
24      laundering under these charges that result in a conviction when a third party engages
25      in a transaction unknown to a defendant and co~~trajy to the speczfic zf~st~~z~ctzof~s gzvef~
26      by the defer~danz.
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  1         Mr. Lacey's counsel continues to review the disclosed documents and reserves
  2   the right to bring additional challenges to the government's seizures, and has joined in
  3   the motion filed by Jalnes Larkin challenging the government's pretrial restraint ofthe
  4   assets of the defendants named in the Arizona Prosecution. However, the isolated
  5   clerical error resulting in the seizure of the Republic Bank accounts ending in 2485,
  6   1897, and 3126 and the urgent need for release funds to pay for living expenses and a
  7   defense, merits the instant motion for irrunediate release of the funds held in those
  8   accounts.
  9                                      CONCLUSION
 l0         In light of the foregoing, Mr. Lacey moves for an order requiring the
 11   government to release the funds held in his Republic Bank accounts 2485 because Mr.
 12   Lacey has demonstrated that those funds are unrelated to Backpage and cannot be
 13   subjected to pretrial restraint. Further, because that account held only funds unrelated
 14   to Backpage, and there are no independent allegations of taint regarding Mr. Lacey's
 15   Republic Bank accounts ending in 1897 and 3126, Mr. Lacey respectfully requests that
 16 this Court order the govermnent to release all funds held in those accounts as well.
 17   Due to the tenuous financial position in which the govermnent has placed Mr. Lacey,
 18   Mr. Lacey respectfully requests the accelerated hearing ofthis motion.
 19
                                       Respectfully submitted,
 20
                                       s     PaulJ. Cambj~a, Jr
 21
                                             LIPSITZ GREEN SCIME CAMBRIA LLP
 22                                          Attorneys for Defendant Michael Lacey
 23   Sworn to before me this
      10th day of August, 2018.
 24
      s/ April Kelly
 25   Coininissioner of Deeds
 26   In and For the City of Buffalo, N.Y.
      My Coininission expires December 31, 2018
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